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                                  EVIDENCE COLLECTED ITEM LOG
                                       Return/Production Status

                                                                              Return/Production
Item #                    Description
                                                                                    Status
  1       One (1) gray iPhone on dresser
          One (1) gray Apple laptop, Model A2681,      Item returned and information deleted from government
  2       Serial number FDK2WQY91Y with charging       systems, 9-15-2023
          cable on coffee table
          One (1) gray Apple laptop, Model A1278,      Folders and files that predate August 22, 2022, 9-15-2023;
  3       Serial number C1MH3DJ9DV13 with power
          cord, on desk
          One (1) gray Macbook Air, Model A1466,       Folders and files that predate August 22, 2022, 9-15-2023;
  4       Serial number C02MM0SNFLCG with
          power cord on desk
          One (1) gray Apple laptop Serial number      Folders and files that predate February 20, 2022, 9-28-2023;
  5
          W80199B7AGZ with power cord on table
          One (1) black rackmount PC on table - NVMe   Returned website code for burke-communications.com,
                                                       mocksession, and lynnhurtak.com, 7-27-2023; returned
  6
                                                       MySQL database files for above websites, 9-13-2023; folders
                                                       and files that predate February 20, 2022, 9-28-2023;
  6       One (1) black rackmount PC on table - HDD    Folders and files that predate February 20, 2022, 9-28-2023;
          One (1) black rackmount PC on table –        Folders and files that predate August 22, 2022, 9-15-2023;
  7
          Samsung NVMe
  7       One (1) black rackmount PC on table – SSD    Folders and files that predate August 22, 2022, 8-9-2023;
          One (1) black rackmount PC on table – RAID   Processed and ready to produce folders and files that predate
  7
                                                       February 20, 2022 (requires estimated 8.4 TB of storage);
          One (1) white computer tower on floor –      Folders and files that predate February 20, 2022, 9-15-2023;
  8
          RALLY RAID
          One (1) white computer tower on floor –      Folders and files that predate February 20, 2022, 9-28-2023;
  8
          NVMe 960
          One (1) white computer tower on floor –      Folders and files that predate February 20, 2022, 9-28-2023;
  8
          NVMe 970
          One (1) white computer tower on floor –      Processed and ready to produce folders and files that predate
  8
          HDD RAID (8 Drives)                          February 20, 2022 (requires estimated 2.8 TB of storage);
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                              EVIDENCE COLLECTED ITEM LOG
                                   Return/Production Status

      One (1) white computer tower on floor –         Processed and ready to produce folders and file that predate February
8
      HDD 9                                           20, 2022 (requires estimated 1.6 TB of storage);
      One (1) white computer tower on floor –         Folders and files that predate February 20, 2022, 9-28-2023;
8
      HDD 10
      One (1) gray Apple laptop, Model A1369,         Folders and files that predate February 20, 2022, 9-28-2023;
9
      Serial number C02GK596DJWT on floor
      One (1) gray Lacie external hard drive on       Processed and ready to produce folders and files that predate
10
      server rack                                     February 20, 2022 (requires estimated 1.6 TB of storage);
      One (1) gray Apple laptop, Model A1708,         Folders and files that predate February 20, 2022, 9-28-2023;
12    Serial number C02V94BZHV22 with charging
      cord on the left side of desk
14    One (1) black PC tower on floor                 Folders and files that predate August 22, 2022, 8-9-2023;
15    Three (3) notebooks from bookshelf
16    One (1) notebook from kitchen counter
      One (1) Crucial solid state drive Serial        Folders and files that predate August 22, 2022 (partial),
17    number 2136E5CF4SCB from server rack            8-9-2023; Item returned and information deleted from
                                                      government systems, 9-28-2023
      One (1) Apple iPhone Model Al387, white;
      one (1) Apple iPhone Model A1660, black;
18
      one (l) Apple iPhone, Model A1660, silver-All
      on desk
      One (1) black ORICO external hard drive         Item returned and information deleted from government
19
      with power cord under desk                      systems, 8-9-2023
      One (1) black ASUS PC Serial number             Folders and files that predate August 22, 2022 (partial),
20
      CCPDCG0019WM - HDD                              8-9-2023; (complete) 8-17-2023;
      One (1) black ASUS PC Serial number             Folders and files that predate August 22, 2022, 8-17-2023;
20
      CCPDCG0019WM - SSD
      One (1) Crucial solid state drive in black      Folders and files that predate August 22, 2022,
21    enclosure Serial 2039E4B257CF with USB          8-9-2023; Item returned and information deleted from
      cable on the desk                               government systems, 9-28-2023
      One (1) Crucial solid state drive Serial        Folders and files that predate August 22, 2022,
22    number 2151E5F56D90 on bookshelf                8-9-2023; Item returned and information deleted from
                                                      government systems, 9-28-2023
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                              EVIDENCE COLLECTED ITEM LOG
                                   Return/Production Status

       One (1) black mini PC S/N 2239E66E7B         Folders and files that predate August 22, 2022,
23     from desk                                    8-9-2023; Item returned and information deleted from
                                                    government systems, 9-28-2023
       One (1) black Hitachi 500GB hard drive S/N   Folders and files that predate August 22, 2022 (partial),
24
       80G3XZLC with two cords on top of 8          8-9-2023;
DE1    One (1) PNY 64GB USB3 gray                   N/A (internal work product)
